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 4
                               UNITED STATES DISTRICT COURT
 5
                               EASTERN DISTRICT OF WASHINGTON
 6
     UNITED STATES OF AMERICA,                   )
 7                                               )         NOS. CR-07-2063-LRS-2
                               Respondent,       )              CV-11-3046-LRS
 8                                               )
             -vs-                                )
 9                                               )         ORDER DENYING 28 U.S.C. §2255
     MICHAEL ALLEN BRIGGS,                       )         MOTION
10                                               )
                               Petitioner.       )
11

12        Before the Court is Petitioner's 28 U.S.C. § 2255 Motion to Vacate,

13   Set Aside, or Correct Sentence by a Person in Federal Custody, filed

14   April 15, 2011 (ECF No. 448, CR-07-2063-LRS-2, ECF No. 1, CV-11-3046-

15   LRS).   The Motion is submitted by Michael Allen Briggs, who is appearing

16   pro se for the purposes of these proceedings.                 Additionally, Mr. Briggs

17   has filed a Motion For Leave to Conduct Rule 6 Discovery Re: Section 2255

18   Proceedings(ECF No. 450).

19        The    motion   is   heard   without       oral   argument     and   the   court has

20   determined that an evidentiary hearing is unnecessary. All of the grounds

21   for relief     asserted    by   Defendant       can    be   resolved   by   the   evidence

22   currently of record. The "files and the records of the case conclusively

23   show the prisoner is entitled to no relief."

24                                      I. BACKGROUND

25        Mr. Briggs was indicted on May 15, 2007 for Conspiracy to Possess

26   With Intent to Distribute a Controlled Substance in violation of 21


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 1   U.S.C. 846 (Count 1); and Conspiracy to Possess a Firearm in Furtherance

 2   of a Drug Trafficking Crime in violation of 18 U.S.C. 924(o)(Count 2).

 3   Mr. Briggs was found guilty, by a jury at his second trial,1 of both

 4   conspiracy counts of the Indictment on November 5, 2008.                 On February

 5   3, 2009, Mr. Briggs was sentenced to a 132-month term of imprisonment

 6   with five years supervised release; and a special assessment of $200.

 7   Mr. Briggs filed a direct appeal of his judgment and/or sentence on

 8   February 11, 2009.        The Ninth Circuit Court of Appeals affirmed the
 9   judgment of the district court on September 27, 2010 (No. 09-30065).

10   On April 15, 2011, Mr. Briggs filed the instant petition.

11                                     II. DISCUSSION

12        Issues raised on direct appeal are not subject to collateral

13   attack under §2255.        United States v. Redd, 759 F.2d 699, 701 (9th

14   Cir. 1985); Egger v. United States, 509 F.2d 745, 748 (9th Cir.),

15   cert. denied, 423 U.S. 842 (1975).           "Grounds which were apparent on

16   the original appeal cannot be made the basis for a second attack under

17   §2255."     Egger, 509 F.2d at 748.       Alternatively, legal claims asserted

18   on direct appeal and then in a §2255 motion may be considered the

19   same, even though the supporting statements and facts for the claims

20   may vary.     Molina v. Rison, 886 F.2d 1124, 1129 (9th Cir. 1989).

21   "[W]hether a particular ‘new' issue is merely a ‘new legal argument'

22   rather than a ‘new legal claim' will depend on whether the new issue

23   is itself a ground for relief, as opposed to being merely a supporting

24   argument or predicate step to a larger, basic claim."                 Id.

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          1
26            At Mr. Briggs’ first trial, a “Mistrial” was declared on June 24,
     2008.


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 1         Mr. Briggs contends that his sentence is unconstitutional based

 2   on five grounds, four of which amount to ineffective assistance of

 3   counsel and one ground alleging failure to disclose evidence favorable

 4   to the defendant.     ECF No. 448.

 5        A.   GROUNDS ONE–THREE, FIVE:        INEFFECTIVE ASSISTANCE OF COUNSEL

 6        Mr. Briggs alleges that his attorney Timothy Cotterell deprived

 7   him of his constitutional right to effective assistance of counsel.

 8   In support of this allegation, Mr. Briggs states the following alleged
 9   deficiencies: 1) trial counsel failed to proffer an affirmative

10   defense of entrapment; 2) trial counsel failed to investigate and call

11   Glen Ray Briggs, and others, as a witnesses; 3)trial counsel failed to

12   object to irrelevant and prejudicial testimony of agents Foreman,

13   Steadman and Floyd; 4) trial counsel failed to object to improper

14   questing [sic] by the Government during cross examination of

15   defendant; and 5) trial counsel failed to play tape recordings of

16   defendant and ATF Agent Floyd’s conversation concerning a silencer.

17   ECF No. 448, at 4, 6.

18        The Court rejects Mr. Briggs’ arguments, and concludes that

19   defense counsel’s performance was not deficient.               There is no showing

20   that counsel's efforts were not those of a reasonably competent

21   practitioner or that he failed to present any issues now raised by Mr.

22   Briggs.   For example, trial counsel filed a pretrial motion to dismiss

23   for outrageous government conduct wherein he vigorously argued an

24   entrapment-type of theory. ECF No. 162.            Further, trial counsel chose

25   not to use Glen Ray Briggs as a witness and to do so was undoubtedly

26   tactical as credibility and bias were factors to be reckoned with in


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 1   using defendant’s brother Glen Briggs.           Finally, although Mr. Briggs

 2   generally states that trial counsel failed to object to testimony, he

 3   offers no instances of specific testimony he believes should have been

 4   objected to.    As for trial counsel’s alleged failure to play tape

 5   recordings of defendant and ATF Agent Floyd regarding the alleged

 6   silencer conversation, Mr. Briggs argues that the jury could have

 7   heard the contradiction in the Agent’s testimony and a different

 8   verdict would have been rendered.         ECF No. 448, at 6.         Mr. Briggs does
 9   not, however, elaborate on the contradiction in Agent Floyd’s

10   testimony that he believes would have changed the jury’s verdict. The

11   jury had an opportunity to hear testimony from the agents regarding

12   the silencer conversation and weigh such testimony.               Mr. Briggs

13   conclusory allegations, without more, are insufficient to find a

14   constitutional violation has occurred.

15        In a Section 2255 motion based on ineffective assistance of

16   counsel, the movant must prove:         (1) counsel's performance was

17   deficient, and (2) movant was prejudiced by such deficiency.

18   Strickland v. Washington, 466 U.S. 668, 687, 104 S.Ct. 2052 (1984).

19   As to the first prong, there is a strong presumption defense counsel's

20   performance was sufficiently effective.            Id. at 689.     Petitioner must

21   show his counsels' performance was "outside the wide range of

22   professionally competent assistance."           Id. at 690.

23        Tactical decisions of trial counsel deserve deference when:                   (1)

24   counsel in fact bases trial conduct on strategic considerations; (2)

25   counsel makes an informed decision based on investigation; and (3) the

26   decision appears reasonable under the circumstances.               Thompson v.


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 1   Calderon, 86 F.3d 1509, 1515-16 (9th Cir. 1996), citing Sanders v.

 2   Ratelle, 21 F.3d 1446, 1456 (9th Cir. 1994).               As to the second prong,

 3   petitioner must demonstrate a reasonable probability that, but for

 4   counsel's errors, the result of the proceeding would have been

 5   different- i.e. the fact finder would have had a reasonable doubt

 6   respecting guilt.     A "reasonable probability" is a "probability

 7   sufficient to undermine confidence in the outcome" of the trial.

 8   Strickland, 466 U.S. at 694.       The essence of an ineffective assistance
 9   counsel claim is that counsel's conduct so undermined the proper

10   functioning of the adversarial process that the trial cannot be relied

11   upon as having produced a just result.           Id. at 686.       Both prongs of

12   the ineffective assistance test need not be addressed if the claim can

13   be disposed of in one prong.       Id. at 697.           According to the Supreme

14   Court:

15            The object of an ineffectiveness claim is not to grade
              counsel's performance. If it is easier to dispose of an
16            ineffectiveness claim on the ground of lack of sufficient
              prejudice . . . that course should be followed. Courts
17            should strive to ensure that ineffectiveness claims not
              become so burdensome to defense counsel that the entire
18            criminal justice system suffers as a result.
     Id.
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           The Court begins its review by either determining whether
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     counsel's performance was deficient, or by determining any possible
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     prejudice suffered by Mr. Briggs. In either event, the result in this
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     case is identical.
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           Even assuming arguendo deficient performance by defense counsel,
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     Petitioner has not shown prejudice. Under the prejudice prong of the
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 1   inquiry, Petitioner “must affirmatively prove prejudice by showing

 2   that counsel's errors actually had an adverse effect on the defense.”

 3   United States v. Freixas, 332 F.3d 1314, 1320 (11th Cir.2003).                 This

 4   showing requires “more than some conceivable effect on the outcome of

 5   the proceeding.” Id.      Here, Petitioner has not shown that a reasonable

 6   probability exists that the outcome of the case would have been

 7   different if his attorney had given the assistance that Petitioner

 8   suggests he should have provided.         These ineffectiveness claims are
 9   without merit.

10          B.   GROUND FOUR: ALLEGED FAILURE TO DISCLOSE EVIDENCE

11          Mr. Briggs argues that his conviction was obtained by the alleged

12   failure of the government to disclose evidence that was favorable to

13   him.    Mr. Briggs states that the prosecutor failed to disclose phone

14   and other records of the agents involved in the case.                This allegedly

15   prejudiced Mr. Briggs as it rendered him unable to proffer an

16   affirmative defense and prevented him from showing the outrageous and

17   egregious conduct of the Government.

18          In its response to Mr. Briggs motion for discovery, the

19   government indicated that all Brady materials and exculpatory evidence

20   known to the Government was provided to defendant Briggs.                Mr. Briggs

21   may hope for exculpatory evidence, however, there is no indication any

22   such agent records exist and that such records, if admissible, were

23   not provided by the government.

24          C.   CONCLUSION

25          The Court finds that the Petitioner has not provided any evidence

26   to convince this Court that his constitutional rights were violated.


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 1   The Petitioner is not entitled to an evidentiary hearing on the motion

 2   to vacate his sentence under 28 U.S.C. § 2255.              Additionally, the

 3   Court summarily dismisses the Motion without sending it to the United

 4   States Attorney for response.       Accordingly,

 5        IT IS ORDERED that:

 6        1. Mr. Briggs’s Motion to Vacate, Set Aside, or Correct Sentence

 7   by a Person in Federal Custody, filed April 15, 2011 (ECF No. 448, CR-

 8   07-2063-LRS-2, ECF No. 1, CV-11-3046-LRS),is DENIED.               Mr. Briggs
 9   request to conduct discovery, ECF No. 450, is DENIED.

10        2.   The District Court Executive is directed to:

11             (a) File this Order;

12             (b) Provide a copy to Petitioner AND TO the United States

13   Attorney, Yakima, Washington; and

14             (c) CLOSE THESE FILES.

15        DATED this 24th day of August, 2011.

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17                                                       s/Lonny R. Suko

18
                                                         LONNY R. SUKO
19                                                UNITED STATES DISTRICT JUDGE

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